Case 13-06549        Doc 42     Filed 01/06/15     Entered 01/06/15 16:41:07          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13 B 06549
         Derrick A Owens

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 02/21/2013.

         2) The plan was confirmed on 08/26/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/28/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/24/2014, 06/26/2014.

         5) The case was Dismissed on 07/14/2014.

         6) Number of months from filing to last payment: 12.

         7) Number of months case was pending: 22.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 13-06549              Doc 42           Filed 01/06/15    Entered 01/06/15 16:41:07                Desc         Page 2
                                                             of 3



 Receipts:

           Total paid by or on behalf of the debtor                       $3,450.00
           Less amount refunded to debtor                                   $230.00

 NET RECEIPTS:                                                                                               $3,220.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $2,945.73
     Court Costs                                                                         $0.00
     Trustee Expenses & Compensation                                                   $124.27
     Other                                                                               $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                           $3,070.00

 Attorney fees paid and disclosed by debtor:                            $350.00


 Scheduled Creditors:
 Creditor                                                 Claim         Claim            Claim       Principal      Int.
 Name                                           Class   Scheduled      Asserted         Allowed        Paid         Paid
 Accounts Receivable Ma                     Unsecured         534.00           NA              NA            0.00       0.00
 All Credit Lenders                         Unsecured            NA       1,915.52        1,915.52           0.00       0.00
 American InfoSource LP as agent for        Unsecured           0.00        419.97          419.97           0.00       0.00
 City of Chicago Department of Revenue      Unsecured      6,100.00       7,133.20        7,133.20           0.00       0.00
 Credit Acceptance Corp                     Unsecured      7,691.00       8,248.64        8,248.64           0.00       0.00
 Ffcc Columbus Inc                          Unsecured         565.00           NA              NA            0.00       0.00
 Ffcc Columbus Inc                          Unsecured         240.00           NA              NA            0.00       0.00
 IL Dept Of Healthcare & Family Services    Unsecured           0.00    45,627.63        45,627.63           0.00       0.00
 IL Dept Of Healthcare & Family Services    Unsecured           0.00    38,218.03        38,218.03           0.00       0.00
 Illinois Department Of Healthcare And Fa   Priority            0.00           NA              NA            0.00       0.00
 Illinois Department of Revenue             Priority            0.00           NA              NA            0.00       0.00
 Internal Revenue Service                   Priority             NA       4,978.90        4,978.90           0.00       0.00
 Internal Revenue Service                   Unsecured      3,000.00       6,887.87        6,887.87           0.00       0.00
 Pekay & Blitstein P C                      Unsecured           1.00           NA              NA            0.00       0.00
 Portfolio Recovery Associates              Unsecured            NA     31,542.58        31,542.58           0.00       0.00
 Quantum3 Group                             Unsecured            NA         480.00          480.00           0.00       0.00
 Raymond Smith Jr.                          Unsecured           1.00           NA              NA            0.00       0.00
 Stellar Recovery Inc                       Unsecured         783.00           NA              NA            0.00       0.00
 United Auto Credit Corporation             Secured        4,893.00       5,664.85        4,893.00        150.00        0.00
 United Auto Credit Corporation             Unsecured            NA         771.85          771.85           0.00       0.00
 Universal Acceptance                       Unsecured      4,749.00       4,749.14        4,749.14           0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 13-06549        Doc 42      Filed 01/06/15     Entered 01/06/15 16:41:07             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                            $4,893.00            $150.00              $0.00
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                           $4,893.00            $150.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                                $4,978.90               $0.00             $0.00
 TOTAL PRIORITY:                                          $4,978.90               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $145,994.43               $0.00             $0.00


 Disbursements:

         Expenses of Administration                             $3,070.00
         Disbursements to Creditors                               $150.00

 TOTAL DISBURSEMENTS :                                                                       $3,220.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/06/2015                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
